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                EXHIBIT E
Tracking | UPS - United States                                              Page 1 of 5
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  Tracking Details

  1Z6134386698260658

  Updated: 10/12/2020 12:51 P.M. EST




                                   Delivered
                                                                               

                                         Delivered On

                                        Thursday
                                       10/01/2020
                                         Delivery Time

                                       at 2:56 P.M.

                                         Send Updates




     Delivered To
     RIYADH, SA



     Left At: Office
     Received By: OTHMAN
     Proof of Delivery




                                                                  Ask UPS




https://www.ups.com/track?loc=en_US&requester=ST/trackdetails                10/12/2020
Tracking | UPS - United States                                              Page 2 of 5
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     We care about the security of your package. Log in () to get more details about your delivery.




     Shipment Progress                                                                                


                       Overview                                      Detailed View


                                      Date                             Location          Activity


             Delivered               10/01/2020                       RIYADH,           DELIV-
                                      2:56 P.M.                        SA                ERED
                                                                                         Proof of
                                                                                         Delivery


             Out for Delivery        10/01/2020 8:38 A.M.             Riyadh,           Out For De-
                                                                       Saudi             livery
                                                                       Arabia


                                      09/30/2020 11:14 P.M.            Riyadh,           This
                                                                       Saudi             package is
                                                                       Arabia            being held
                                                                                         for a future
                                                                                         delivery
                                                                                         date.


                                      09/30/2020 10:41 A.M.            Riyadh,           Import
                                                                       Saudi             Scan
                                                                       Arabia


                                      09/30/2020 2:30 A.M.             Riyadh,           Arrived at
                                                                       Saudi             Facility
                                                                       Arabia


                                      09/30/2020 1:00 A.M.             Dharan,           Departed
                                                                       Saudi             from
                                                                       Arabia            Facility




                                                                                  Ask UPS




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                                   Date                         Location           Activity


                                   09/29/2020 9:00 A.M.         Dharan,            Arrived at
                                                                Saudi              Facility
                                                                Arabia


                                   09/26/2020 2:30 A.M.         Dubai              Departed
                                                                Airport,           from
                                                                United Arab        Facility
                                                                Emirates


                                   09/25/2020 10:15 A.M.        Dubai              Origin Scan
                                                                Airport,
                                                                United Arab
                                                                Emirates


                                   09/25/2020 2:15 A.M.         Dubai              Arrived at
                                                                Airport,           Facility
                                                                United Arab
                                                                Emirates


                                   09/24/2020 4:42 A.M.         Louisville,        Departed
                                                                KY, United         from
                                                                States             Facility


                                   09/24/2020 12:44 A.M.        Louisville,        Export Scan
                                                                KY, United
                                                                States


                                   09/23/2020 7:44 P.M.         Landover,          Pickup Scan
                                                                MD, United
                                                                States


            Shipped               09/23/2020 5:11 P.M.         New York,          The service
                                                                NY, United         selected is
                                                                States             not availa-
                                                                                   ble to this
                                                                                   destination
                                                                                   address.
                                                                                   This has
                                                                                   delayed de-
                                                                                   livery.



                                                                              Ask UPS




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                                      Date                            Location        Activity


               Label Created         09/23/2020 4:11 P.M.            United          Order Pro-
                                                                      States          cessed:
                                                                                      Ready for
                                                                                      UPS




     Shipment Details                                                                            

     Service
     UPS Express Saver® 
     (https://www.ups.com/content/us/en/shipping/time/service/index.html)

     Weight
     5.00 LBS

     Shipped / Billed On
     09/23/2020

     Shipment Category
     Package

     Show Less 



      Track
                                                                                           Help 




                                                 Track




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                                                                                 Ask UPS




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